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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 United States of America                                                           Protective Order

                v.                                                                   20-cr-573 (ER)
                                                                                         20 Mj. 7668

 James Bazemore,

                            Defendant.



       Upon the application of the United States of America, with the consent of the undersigned

counsel, and the defendant having requested discovery under Fed. R. Crim. P. 16(a)(1)(E), the

Court hereby finds and orders as follows:

       1. Disclosure Material. The Government will make disclosure to the defendant of

documents, objects and information, including electronically stored information (“ESI”), pursuant

to Federal Rule of Criminal Procedure 16, 18 U.S.C. §3500, and the Government’s general

obligation to produce exculpatory and impeachment material in criminal cases, all of which will

be referred to herein as “disclosure material.” The Government’s disclosure material may include

material that (i) affects the privacy and confidentiality of individuals; (ii) would impede, if

prematurely disclosed, the Government’s ongoing investigation of uncharged individuals; (iii)

would risk prejudicial pretrial publicity if publicly disseminated; and (iv) is not authorized to be

disclosed to the public or disclosed beyond that which is necessary for the defense of this criminal

case. Certain of the Government’s disclosure material contains information that identifies, or could

lead to the identification of, witnesses who may be subject to intimidation or obstruction, and

whose lives, persons, and property, as well as the lives, persons and property of loved ones, will

be subject to risk of harm absent the protective considerations set forth herein.
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       2. Facilitation of Discovery. The entry of a protective order in this case will permit the

Government to produce expeditiously the disclosure material without further litigation or the need

for certain redaction. It will also afford the defense prompt access to those materials, which will

facilitate the preparation of the defense.

       3. Good Cause. There is good cause for entry of the protective order set forth herein.

NOW, THEREFORE, FOR GOOD CAUSE SHOWN, IT IS HEREBY ORDERED:

       4. Disclosure material shall not be disclosed by the defendant or defense counsel,

including any successor counsel (“the defense”) other than as set forth herein, and shall be used

by the defense solely for purposes of defending this action. The defense shall not post any

disclosure material on any Internet site or network site to which persons other than the parties

hereto have access, and shall not disclose any disclosure material to the media or any third party

except as set forth below.

       5. Disclosure material may be disclosed by counsel to:

           (a) the defendant for review for purposes related to this case;

           (b) Personnel for whose conduct counsel is responsible, i.e., personnel employed by or

retained by counsel, as needed for purposes of defending this action;

           (c) Prospective witnesses for purposes of defending this action.

       6. The Government may authorize, in writing, disclosure of disclosure material beyond

that otherwise permitted by this Order without further Order of this Court.




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        7. This Order does not prevent the disclosure of any disclosure material in any hearing or

trial held in this action, or to any judge or magistrate judge, for purposes of this action. All filings

should comply with the privacy protection provisions of Fed. R. Crim. P. 49.1.

        8. Except for disclosure material that has been made part of the record of this case, and

subject to the rules of professional responsibility regarding an attorney’s obligation to maintain a

client’s file, the defense shall return to the Government or securely destroy or delete all disclosure

material, including the seized ESI disclosure material, within 30 days of the expiration of the

period for direct appeal from any verdict in the above-captioned case; the period of direct appeal

from any order dismissing any of the charges in the above-captioned case; or the granting of any

motion made on behalf of the Government dismissing any charges in the above-captioned case,

whichever date is later.

        9. The defense shall provide a copy of this Order to prospective witnesses and persons

retained by counsel to whom the defense has disclosed disclosure material or the Government’s

ESI production. All such persons shall be subject to the terms of this Order. Defense counsel shall

maintain a record of what information has been disclosed to which such persons.

        10. This Order places no restriction on a defendant’s use or disclosure of ESI that originally

belonged to the defendant.

                                      Retention of Jurisdiction
        11. The provisions of this order shall not terminate at the conclusion of this criminal

prosecution and the Court will retain jurisdiction to enforce this Order following termination of

the case.


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AGREED AND CONSENTED TO:

   AUDREY STRAUSS
   Acting United States Attorney


by: _____________________________            Date: ___10/21/20________________
    Benjamin A. Gianforti
    Christopher D. Brumwell
    Assistant United States Attorneys

   ___________________________               Date: _____10/21/20________________
   Matthew Myers, Esq.
   Counsel for James Bazemore

SO ORDERED:

Dated: New York, New York
       November
       October __,5,2020
                     2020

                                        _________________________________
                                        THE HONORABLE JAMES L. COTT
                                        UNITED STATES MAGISTRATE JUDGE




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